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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


NATIONAL URBAN LEAGUE, et al.,

                       Plaintiffs,

       v.                                                    Civil Action No. 25-cv-00471

DONALD J. TRUMP, et al.,

                       Defendants.


                                              NOTICE

       On March 19, 2025, at the hearing on Plaintiffs’ Motion for a Preliminary Injunction, Judge

Timothy J. Kelly, currently assigned to the case, notified the parties that his wife is the Director of

the D.C. Department of Transportation (“DDOT”). Judge Kelly further stated that he does not

believe that the challenged provisions of the Executive Orders “apply to a slice of the District

government” and invited factual clarification on the issue. Plaintiffs file this notice for the sole

purpose of providing such factual clarification.

       As a District agency responsible for the management of transportation infrastructure and

operations in Washington, D.C., DDOT appears to receive grants from the federal government,

including the U.S. Department of Transportation. It uses federal funding for various projects

involving road, bridge, and tunnel construction as well as certain projects that advance certain

“equity” goals.1


1
 DDOT’s Funding Dashboard suggests it receives federal funding for Planning, Management &
Compliance – 100791/PM000A – Federal/Appendix H “Audit and Compliance” and “Civil
Rights – On-the-Job Training Supportive Services” projects. See Budget & Forecast, District
Department of Transportation,
https://dataviz1.dc.gov/t/OCTO/views/CombinedCapitalProjectFundingTableFY2025/ComboCa
pitalBudgetFY25Dash?%3AshowAppBanner=false&%3Adisplay_count=n&%3AshowVizHome
=n&%3Aorigin=viz_share_link&%3Aembed=yes&%3Atoolbar=no (last visited Mar. 20, 2025).
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Dated: March 24, 2025                             Respectfully submitted,

                                                      /s/ Stacey K. Grigsby

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                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on March 24, 2025, the foregoing Notice

was filed through the CM/ECF system and sent electronically to the participants identified on the

Notice of Electronic Filing.



                                                  /s/ Stacey K. Grigsby
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